EASTERN DISTRICT OF VIRGINIA

) Aor Case 1:12- “pal UNITED SAGs DISH EP CObRTPage 1 of 1 PagelD# 21

ALEXANDRIA DIVISION
UNITED STATES JUDGE: THOMAS RAWLES JONES, JR.
CASE NO.:
HEARING: 3~te5 S
DATE: lO st 2
TIME: a CH
Soro GB WL oO CO hoesh | REPORTER: FIR GOLD SYSTEM
CLERK: CHRISTINA MARQUEZ
DEFENDANT(S) Soy Ves Q
COUNSEL FOR UNITED STATES: _\ vl LOW ~Y) Or) nex
COUNSEL FOR DEFENDANT: aii Coek12 lal
INTERPRETER: LANGUAGE:
FT. APPEARED (_) THROUGH COUNSEL (_ ) FAILED TO APPEAR (_) WARRANT TO BE ISSUED
) RULE 5 ADVISEMENT ( ) DEFT. ADMITS (_) DENIES VIOLATION
) COURT TO APPOINT COUNSEL ( ) COURT FINDS DEET. IN VIOLATION

) DEFT. TO RETAIN COUNSEL

) CONTACT PREVIOUS COUNSEL & REAPPOINT

) PRELIMINARY EXAMINATION WAIVED

) COURT FINDS PROBABLE CAUSE

) U.S. REQUESTS DETENTION ( ) GRANTED (_) DENIED
) GOVT NOT SEEKING DETENTION

FO Nf fm, fa,

_SQeErT, EMANDED (_ ) DETAINED ( ) DEFT. CONTINUED ON BOND/PROBATION
CONDITIONS OF RELEASE: .
($ ) UNSECURED ($ ) SECURED( )PTS( )3®° PARTY( ) TRAVEL RESTRICTED

( ) APPROVED RESIDENCE( )SATT( )PAYCOSTS( ) ELECTRONIC MONITORING

( ) MENTAL HEALTH TEST/TREAT( )ROL( )NOTDRIVE( )FIREARM(_ ) PASSPORT
( ) AVOID CONTACT (| ) ALCOHOL & DRUG USE(_) EMPLOYMENT

MINUTES:

(| )GOVT ADDUCED EVIDENCE & RESTS(  ) EXHIBITS:

(| ) DEFT ADDUCED EVIDENCE & RESTS (_ ) EXHIBITS:

DeRnse covussel Wes inquire spite rhe
LSMS GQlopnw-b Faas pif ae Cott

( )GOVT.( ) DEFT.( ) JOINT MOTION TO CONTINUE( )GRANTED(_ ) DENIED

tolich 2. at 2:00 AM or PM)
AO Ree a ouNe | oe oe )PLEA( )SENT( )PBV( )SRV( )VCR( )R

NEXT APPEARANCE:

(_ ) MATTER CONTINUED FOR FURTHER PROCEEDINGS BEFORE THE GRAND JURY

( ) RELEASE ORDER GIVEN TO USMS
